










COURT OF 
APPEALS
SECOND DISTRICT OF TEXAS
FORT WORTH
&nbsp;
NO. 
2-03-157-CV
&nbsp;
&nbsp; 
GREEN 
FLY S.R.1., FREEAIR, S.P.A., &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPELLANTS
FREEAIR 
SYSTEM, S.R.1., ELITALIANA
S.P.A., 
AND MANFREDO WINDISCH-GRAETZ
&nbsp; 
V.
&nbsp; 
BELL 
HELICOPTER SERVICES, INC., &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPELLEES
BELL 
HELICOPTER TEXTRON, A DIVISION
OF 
TEXTRON CANADA LIMITED, AND BELL
HELICOPTER 
TEXTRON, INC.
&nbsp; 
------------
FROM 
THE 348TH DISTRICT COURT OF TARRANT COUNTY
------------
MEMORANDUM OPINION1 AND JUDGMENT
----------
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We 
have considered the parties “Agreed Motion To Dismiss Appeal.”&nbsp; It is 
the court's opinion that the motion should be granted; therefore, we dismiss the 
appeal.&nbsp; See TEX. R. APP. P. 42.1(a)(2), 43.2(f).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants 
shall pay all costs of this appeal, for which let execution issue.
&nbsp;
&nbsp; 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER 
CURIAM
&nbsp;
&nbsp;
PANEL B:&nbsp;&nbsp;&nbsp;DAUPHINOT, 
HOLMAN, and GARDNER, JJ.
DELIVERED: 
April 8, 2004


NOTES
1.&nbsp; 
See Tex. R. App. P. 
47.4.



